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                               Arnsic61

           Appellate Division of the Supreme Court
                     of the State of New York
                   First Judicial Department


     I, Susanna M. Rojas, Clerk of the Appellate Division of the
Supreme Court of the State of New York, First Judicial
Department, do hereby certify that

                       Bradley J Pierson
was duly licensed and admitted to practice as an Attorney and
Counselor at Law in all the courts of this State on May 14, 2018,
has duly taken and subscribed the oath of office prescribed by law,
has been enrolled in the Roll of Attorneys and Counselors at Law
on file in this office, is duly registered with the Office of Court
Administration, and      according to the records of this Court is
currently in good standing as an Attorney and Counselor-at-Law.



                            In Witness Whereof, I have hereunto set
                            my hand in the City of New York on
                            September 12, 2023.




                                          Clerk of the Court




CertID-00136448
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        A         Supreme Court of the State of New York
                   Appellate Division, First Department

  DIANNE T. RENWICK                                                                 MARGARET SOWAH
     PRESIDING JUSTICE                                                          DEPUTY CLERK OF THE COURT

SUSANNA MOLINA ROJAS                                                           DOUGLAS C. SULLIVAN
     CLERK OF THE COURT                                                         DEPUTY CLERK OF THE COURT


To Whom It May Concern


       An attorney admitted to practice by this Court may request a certificate of good
standing, which is the only official document this Court issues certifying to an
attorney's admission and good standing.


       An attorney's registration status, date of admission and disciplinary history may
be viewed through the attorney search feature on the website of the Unified Court
System.


       New York State does not register attorneys as active or inactive.


      An attorney may request a disciplinary history letter from the Attorney
Grievance Committee of the First Judicial Department.


     Bar examination history is available from the New York State Board of Law
Examiners.


       Instructions, forms and links are available on this Court's website.




                                                        Susanna Rojas
                                                        Clerk of the Court




Revised October 2020


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